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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 13-60365-CIV-COHN/SELTZER

 FERNANDO DURAND,

              Plaintiff,

 vs.

 FEDERATED LAW GROUP, PLLC,

            Defendant.
 _______________________________________/

                                  ORDER CLOSING CASE

       THIS CAUSE is before the Court upon the Notice of Voluntary Dismissal Without

 Prejudice [DE 6]. Because the Plaintiff has dismissed this action, the Clerk of Court is

 hereby directed to CLOSE this case and DENY any pending motions as MOOT.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida, this 27th day of February, 2013.




 Copies provided to counsel of record via CM/ECF.
